

Wong v 237 Realty LLC (2023 NY Slip Op 51417(U))



[*1]


Wong v 237 Realty LLC


2023 NY Slip Op 51417(U)


Decided on December 21, 2023


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on December 21, 2023
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Hagler, P.J., Brigantti, Tisch, JJ.



571096/23

Elizabeth Wong, Plaintiff-Respondent, 
against237 Realty LLC, Defendant-Appellant.




Defendant appeals from an order of the Small Claims Part of the Civil Court of the City of New York, New York County (Aija Tingling, J.), dated December 1, 2022, which denied its motion to vacate a default judgment.




Per Curiam.
Order (Aija Tingling, J.), dated December 1, 2022, affirmed, without costs.
Civil Court providently exercised its discretion in denying defendant's motion to vacate the default judgment. The failures to appear at the August 4, 2022 "final" trial date and the September 29, 2022 inquest were only the latest in a series of defaults and nonappearances over the course of the litigation that should not be excused (see Kasumu v City of New York, 78 AD3d 560 [2010]). In an effort to accommodate defendant's counsel, the court previously adjourned the matter on multiple occasions, only for counsel to respond that he would again be unavailable for another several months. Defendant also failed to set forth a meritorious defense to this action for a refund of a security deposit. Defendant's vague and unsubstantiated assertions concerning unpaid rent and damage to the apartment were insufficient.
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: December 21, 2023









